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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES CONFERENCE
OF CATHOLIC BISHOPS,                           Case No. 1:25-cv-465-TNM

                       Plaintiff,            AMICUS CURIAE BRIEF OF
                                             JONATHAN CROSMER AND
v.                                        KATHLEEN CROSMER IN SUPPORT
                                                  OF PLAINTIFF’S
UNITED STATES DEPARTMENT OF               COMPLAINT FOR DECLARATORY
STATE, et al.,                                AND INJUNCTIVE RELIEF

                       Defendants.




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                                        INTEREST OF AMICI

          Amici curiae authoring this brief are Jonathan Crosmer and Kathleen Crosmer (the

“Crosmers”), married, pro se, filing by leave of the Court granted in response to an unopposed

motion by the Crosmers pursuant to Local Rule 7(o). The Crosmers are landlords to a family of

five Syrian refugee tenants (the “Tenants”)1 served by Kentucky Refugee Ministries, Inc.

(“KRM”), a Kentucky non-profit corporation. KRM is in a similar position to the Plaintiff,

United States Conference of Catholic Bishops (“USCCB”). KRM had been assisting the Tenants

with paying rent to the Crosmers. As a result of the suspension of the US Refugee Admissions

Program, KRM is no longer able to provide them rental assistance. Thus the Tenants have fallen

behind on the rent owed to the Crosmers, who were thereby harmed by the government’s actions.

Therefore, the Crosmers support the Plaintiffs in their request for relief.

                                          CONTRIBUTIONS

          Pursuant to Local Rule 7(o)(5) and Fed. R. App. P. 29(a)(4), the Crosmers state the

following:

          1. No party’s counsel authored this brief in whole or in part.

          2. No party nor any party’s counsel contributed money that was intended to fund

preparing or submitting this brief.

          3. No person contributed money that was intended to fund preparing or submitting this

brief.




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    The names of the family members are irrelevant and therefore omitted for their privacy.
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                                          ARGUMENT

       The Crosmers offer to the Court their perspective as third parties who were harmed by the

government’s actions described by the USCCB. The Crosmers humbly suggest that the

Defendants have caused significantly more harm than they admit. The balance of harms and the

public interest weigh in favor of injunctive relief for the USCCB, which will also relieve the

Crosmers, the Tenants, KRM, and many similarly situated parties.

I. Background.

       The Crosmers became interested in working with refugees after the disastrous U.S.

withdrawal from Afghanistan in 2021 led to an influx of migration. The Crosmers own exactly

one house in Lexington, Kentucky. They began renting this house to refugees in August 2023.

The current Tenants, refugees from Syria, are the third refugee family to occupy the house. Two

of the five family members are disabled. The Tenants are delighted to live in the United States

and are working towards assimilation. They are very proud of keeping a clean house, and they

have made friends with their American neighbors. They were receiving assistance from KRM

prior to the Refugee Funding Suspension. See Pl.’s Compl. (ECF No. 1) at 3 ¶ 5.

       On February 3, 2025, KRM sent a letter to the Crosmers, stating in part:

               The new presidential administration suspended the US Refugee
       Admissions Program (a program that dates back to 1980 and is the gold standard
       of safe, successful immigration with a path to citizenship) on 1/20/25, as well as
       the funding for it. This includes not only future funding during the indefinite
       arrivals suspension, but also the small per capita amount of start-up money,
       already appropriated by Congress, for the clients who already arrived in the
       United States. These are the dollars that allow newcomers to temporarily pay for
       essentials (like rent, food, and utilities) while they prepare to work (process
       documents, attend health and vaccine appointments, participate in English class at
       KRM, get their children enrolled in school, open a bank account, etc[.]). After this
       short initial period, most clients secure a steady income stream through
       employment, and then take on full responsibility for rent and bills, no longer
       needing KRM support. Some KRM Lexington clients arrived in the United States
       as recently as January 16, 2025. Even their start-up funding has been frozen.

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                We have been told that KRM is unlikely to be reimbursed for the work we
       already completed throughout the month of January under federal agreements.
       Hence, both KRM and its clients are facing sudden shortfalls due to the
       suspension of signed government agreements and the reneging on payments owed
       to us. . . .
                We have been able to write rental assistance checks for a limited number
       of clients, and those are being disbursed today. If more funds become available,
       we may be able to make a second round of payments during February. . . .
                This situation is unprecedented in our nearly 30 years of welcoming
       newcomers to Lexington . . . .

Letter from “Kentucky Refugee Ministries/Lexington” to “Landlords and Property Managers

working with KRM,” February 3, 2025.

       Then Tenants sent the following text message to the Crosmers:

       Good morning Mr. Jonathan. I would like to talk to you about the rent. KRM
       informed us that they will not help us from today onwards. They sent us a letter
       that I will send to you. This letter states that they will not help us at all. . . . They
       told us that they cut off the assistance two days before the month came. We were
       very shocked . . . If I pay it to you, I will not have a single dollar left to pay the
       bills. All respect and appreciation to you, Mr. Jonathan.

SMS text message from Tenants to Jonathan Crosmer, February 5, 2025.

       This put the Crosmers in a difficult position. They could have (1) attempted to evict the

refugees for breach of the lease and left them homeless, or (2) absorbed the cost themselves. The

first option would have been inhumane, thus the Crosmers were forced to choose the

second. Therefore, the government’s actions in this case have caused financial harm and

emotional distress to both the refugee Tenants and the Crosmers.

       Naturally, the Tenants were grateful that the Crosmers did not throw them out on the

street. On hearing that the Crosmers would not trouble them over late or missing rent, the

Tenants replied: “All respect to you I am very happy to hear this from you because I was very

sad and sick. For five days I could not sleep. Now I was very happy when I read this letter. . .”

SMS text message from Tenants to Jonathan Crosmer, February 5, 2025.



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II. The government’s actions constitute an uncompensated “taking” from the Crosmers.

       Even a temporary or emergency government action taking a leasehold requires just

compensation under the Fifth Amendment. U.S. Const. amend. V; United States v. Pewee Coal

Co., 341 U.S. 114, 115-16 (1951) (wartime “taking” of mine to prevent strike required

compensation); Brown v. Legal Found. of Washington, 538 U.S. 216, 233 (2003) (“compensation

is mandated when a leasehold is taken and the government occupies the property for its own

purposes, even though that use is temporary”) (citation omitted). Assuming the government did

not intend for all landlords of indigent refugees to evict them (thus creating potentially thousands

of homeless refugees), then the government must intend for landlords to house refugees without

compensation. Such action is an unlawful Fifth Amendment “taking.”

III. The government’s actions are creating chaos.

       At this point, the Crosmers and the Tenants cannot predict at all what the government will

do. The government defends its actions by describing the Refugee Funding Suspension as a

“temporary pause,” as if it were a minor technical hiccup. But from the Crosmers’ perspective,

the Refugee Funding Suspension was disruptive in the extreme. USCCB, KRM, the Crosmers,

Tenants, and many others relied on the timely delivery of US Refugee Admissions Program

funding. Likely many refugee tenants have breached their leases due to the Refugee Funding

Suspension, as most refugees have few assets when they first arrive in the U.S. Therefore, many

landlords like the Crosmers are facing uncertainty and must make the same difficult choice of

absorbing the financial blow or passing it on to their refugee tenants.

       The uncertainty faced by landlords and tenants is a great hardship. Defendants

emphasize the supposed 90-day time limit of their “temporary pause.” Defs.’ Mem. (ECF No.

14) at 9. They attempt to characterize the Foreign Aid Order as a “short-term delay.” Id. at 10-



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11. However, Defendants fail to acknowledge that many refugees and non-profit refugee

organizations operate with narrow margins. Even a 90-day funding delay for refugees is

devastating. Imagine the outcry if the Social Security Administration decided to suspend all

payments for 90 days to better help the President “implement his agenda.” See id. at 6. This is

not the “orderly operation of government” suggested by Defendants. Id. at 10 (citation omitted).

Moreover, now no one can predict what the government will do after 90 days. Even the

Defendants’ own brief cites only the vaguest statements, such as the Order that the Secretary of

State will determine “whether to continue, modify, or cease each foreign assistance program.”

Id. at 10 (quoting Foreign Aid Order § 3(b)-(c)). Refugees, refugee organizations, and landlords

cannot reasonably expect to go back to business as usual after 90 days.

IV. The harm being caused by the government cannot be remedied by monetary damages.

       The harm caused by Defendants is not “merely monetary.” Contra id. at 6, 15. The

government is inflicting on many parties emotional distress and significant economic harm that

cannot be remedied by remuneration. Many of those harmed are indigent refugees who barely

speak English and are incapable of representing their interests before our courts, so they will

never be compensated. Others harmed include “mom and pop” landlords like the Crosmers, who

have many responsibilities beyond trying to guess what the government will do next and how to

prepare for it. One supposes this is why Congress adopted “AN ACT To improve the

administration of justice by prescribing fair administrative procedure.” P.L. 79-404, 60 Stat. 237

(1946) (Administrative Procedure Act). The government should not be allowed to abandon

statutorily mandated “fair administrative procedure” by disingenuously pretending its actions are

temporary and hurt no one, while forcing the Crosmers and others to bear the cost without

compensation.



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       This case is no mere contract dispute with a government vendor. The government has

taken highly disruptive actions that ripple far beyond what Defendants admit, affecting many

thousands of vulnerable refugees, see Pl.’s Complaint (ECF No. 1) at 4 ¶ 6, and harming inter

alia landlords like the Crosmers.

                                        CONCLUSION

       For the reasons above, the Crosmers entirely support Plaintiff’s Complaint and Prayer for

Relief. See Pl.’s Compl. (ECF No. 1) at 34.



February 24, 2025                                   Respectfully Submitted,




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